Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.1 Filed 10/26/21 Page 1 of 51 |

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

Case: 2:21-cv-12623
_ 4E Judge: Drain, Gershwin A.
S Col] Sede (eC X10 66/ Mu: Altman, Kimberly G.
Filed: 10-26-2021 At 03:24 PM
(Write the full name of each plaintiff who is filing this PRIS SCOTT SEDORE V SIRENNALANDFAIR ET AL (SS)

complaint. If the names of all the plaintiffs cannot fit in

the space above, please write “see attached” in the space
and attach an additional page with the full list of names.) Jury Trial: ves 11 No

y (check one)

1) Sirenng Landfair CRN)

2 Geran Stricklin CAN)

3) Alinda Florek (AN)

4) vickerta Hallett C00) .
5) miciigan Qepedh went of CorrecHoa's (4.0.06)
() Cotizen Health Ines.

(Write the full name of each defendant who is being sued. If
the names of all the defendants cannot fit in the space above,
please write “see attached” in the space and attach an
additional page with the full list of names. Do not include
addresses here.)

Complaint for Violation of Civil Rights
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access
to electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full
social security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual’s birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements,
or any other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to
proceed in forma pauperis.

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Scott Sedere # 21046)

All other names by which you have been known;

N/A

ID Number nalowel
x Current Institution Cc No el |
x Address 3500 North, he wn Road

Jackson, michigan
J 49207

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
Make sure that the defendant(s) listed below are identical to those contained in the
above caption. For an individual defendant, include the person’s job or title (if known)
and check whether you are bringing this complaint against them in their individual
capacity or official capacity, or both. Attach additional pages if needed.

x Defendant No. 1

Name Si fenna Landfair (RN)

Job or Title Health Unit Manager C Hi N,’)
(if known) J

Shield Number N | A

Employer ‘6

Address G. Robert Colfer ‘ooh, faciithy= 3500 N. “Ely Road
Jackson ) michlaan -4920|
A Individual capacity m ~ Official capacity

Case 2:21-cv-12623-GAD-KGA ECF No.1, PagelD.3 Filed 10/26/21 Page 3 of 51

Defendant No. 2

Name Brian ste eklia (en)

Job or Title Nucsing Supervlsol

(Gf known) J \

Shield Number NIA

Employer Michigan Depactwent oft Correction’

Address Gi Robert Cotton Corr. facility - 3500 N, El Road
4
Jackson , waichiqan - 4920|
i Individual capacity XX Official capacity

x Defendant No. 3

Name Alinda Flore (an)

Job or Title Nurse  (Reaistered )

(if known) 7

Shield Number N A

Employer wichigan Depa (+ me nt of Correct on's

Address G, Robert Cotlean Corr, facility ~ 3500 Ni Ely, Road
Jackson , tnidhigan - 49 20|
J
Mh Individual capacity rf Official capacity

x Defendant No. 4

Name Victoria Hallett (No)

Job or Title rMedtea\ Dector

(if known)

Shield Number N | A

Employer Corizen Hea Ith Toes,

Address (152 Millenium Ortve j Suite 100
Lansing ) Michigan — ~ 42917

MH Individual capacity Official capacity
x Defendants con PSE GOO- Extra je" } PagelD.4 Filed 10/26/21 Page 4 of 51

Defendant No, 5 ,
t Michigan Department of Corrections (1m.0.0,0,")

Name.

Job or Tite! we Stabe Polson Systew

Shield number! NIA :

Employer ; state of Mick an -

Address Cx Robert Cotton Cony facility -— 3500 N. Ela Road
jackson J Ww ichiqan 490 |

Hasan! Cpetly Wet! Gp

Defendant No ‘ G

name! Corizen Health Inc... .
job oc THe? Medical Easurance Provider
shield Nunber! N jA
Employer: Corizon Health Incr
Address £ 6452 Millenium Orwe | Sulte 100

Lansing y michigan - 43919

x Taelividue | Capacity XK offers | Cpacth,

Ovctencha nt No, 7

Name;
Job of Title!
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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.5 Filed 10/26/21 Page 5 of 51

II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights,

privileges, or immunities secured by the Constitution and [federal laws]. Under Bivens v. Six
Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that apply):

O Federal officials (a Bivens claim)
mK State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. Ifyou
are suing under section 1983, what federal constitutional or statutory right(s) do you
claim is/are being violated by state or local officials?

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(3) violatens of the Rebal.ilitr Boo Act:

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( CR taliaton”)

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
rights. If you are suing under Bivens, what constitutional right(s) do you claim is/are
being violated by federal officials?

N/A

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D. Section 1983 allows defendants to be found liable only when they have acted “under
color of any statute. ordinance, regulation, custom, or usage, of any State or Territory or
the District of Columbia.” 42 U.S.C. § 1983. Ifyou are suing under section 1983,
explain how each defendant acted under color of state or local law. If you are suing
under Bivens, explain how each defendant acted under color of federal law. Attach
additional pages if needed.

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Il. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

O Pretrial detainee
Civilly committed detainee

Immigration detainee

O

O

A Convicted and sentenced state prisoner
O Convicted and sentenced federal prisoner
O

Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally
invo ved in the alleged wrongful action, along with the dates and locations of all relevant

events. You may wish to include further details such as the names of other persons involved in
the events giving rise to your claims. Do not cite any cases or statutes. If more than one claim
is asserted, number each claim and write a short and plain statement of each claim in a separate

paragraph. Attach additional pages if needed. G lease tek cr ty oltache of sts dewent

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.7 Filed 10/26/21 Page 7 of 51

A. It the events giving rise to your claim arose outside an institution, describe where and

when they arose.

B. If the events giving rise to your claim arose in an institution, describe where and when

they arose. Sb, Robert Cota Corre Prone / Faethh ('JcF")
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C. What date and approximate time did the events giving rise to your claim(s) occur?

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Dates’

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D. What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what? Was anyone else involved? Who else saw what happened?)

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.9 Filed 10/26/21 Page 9 of 51

V.

VI.

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Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required and did or did not receive.

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Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or Statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.

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VII. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]Jo action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed
if you have not exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional
facility?

Xi Yes

] No

If yes, name the jail, prison, or other correctional facility where you were confined at
the time of the events giving rise to your claim(s).

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4F20 }
B. Does the jail, prison, or other correctional facility where your claim(s) arose have a
grievance procedure?
¥ Yes
C] No
Cy Do not know
C, Does the grievance procedure at the jail, prison, or other correctional facility where

your claim(s) arose cover some or all of your claims?

O No
] Do not know

If yes, which claim(s)? All of ™ clans setlined Wot ong
qitances at Step #/ ) shy 2, step #3 Myc

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.11 Filed 10/26/21 Page 11 of 51

1D. Did you file a grievance in the jail, prison, or other correctional facility where your
claim(s) arose concerning the facts relating to this complaint?

x Yes

4 No

If no, did you file a grievance about the events described in this complaint at any other
Jail, prison, or other correctional facility?

CL Yes

sow | UNA

E. If you did file a grievance:

1. Where did you file the grievance?

G Robert Co Man Comechone / faci Ith, ("Ice")
2500 Noth El~ Road
Jackson | wile (gan

4720 }

2. What did you claim in your grievance?

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3. What was the result, if any? nene tomy [SSUue§S were fesolved

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4. What steps. if any. did you take to appeal that decision? Is the grievance
process completed? Ifnot, explain why not. (Describe all efforts to appeal to
the highest level of the grievance process.)

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of th MM, D.b,€, GUMance fees, L har och austet

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F. If you did not file a grievance:
1. If there are any reasons why you did not file a grievance, state them here:
2. If you did not file a grievance but you did inform officials of your claim, state

who you informed, when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies.

NIA

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)

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VUI. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has ‘on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes
rule”?

O Yes

KM ve

If'so, state which court dismissed your case, when this occurred, and attach a copy of the order
if possible.

A. Have you filed other lawsuits in state or federal court dealing with.the same facts

involved in this action? J], ae addi Rona/ tacR mnvolyed inThis lesen if
x Yes Also They ay ot leweu/2 -buFt they bod oor
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B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) Sco tt Sect ore * 2/0 bb /

Defendant(s) Duacen Mm aclaren
2. Court (if federal court, name the district; if state court, name the county and

State)

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3. Docket or index number
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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.14 Filed 10/26/21 Page 14 of 51

4. Name of Judge assigned to your case
Janet Ke 7
5. Approximate date of filing lawsuit

Tenuq, 2019 Lepr matel. )
TJ J) iv J”

6. Is the case still pending?
C] Yes
i No
If no, give the approximate date of disposition. Zo2s
7. What was the result of the case? (For example: Was the case dismissed? Was

Judgment entered in your favor? Was the case gppealed?)
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_ Syypen/ Lente ,

Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of your imprisonment?

KM Yes

CL] No

If your answer to C is yes, describe each lawsuit by answering questions 1 through 7
below. (If there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) Scott Seeders + AIObG )

Defendant(s) Wile lL ae bJataer

2. Court (if federal court, name the district; if state court, name the county and

State)
Eastecn Occtrret teers | eect

3. Docket or index number

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.15 Filed 10/26/21 Page 15 of 51

4, Name of Judge assigned to your case

Thatther F, le(fman

5. Approximate date of filing lawsuit
FAA AT A, ZO } 7
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ih 6. Is the case still pending?
O Yes
A No
If no, give the approximate date of disposition. ethene at teached ~June 2202)
7. What was the result of the case? (For example: Was the case dismissed? Was

Judgment entered in your favor? Was the case appealed?)

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

X A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current address on
file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: October 2b" , 20a] .

Signature of Plaintiff Scott Cato # Alo&l|

Printed Name of Plaintiff Scott Sedoce.

Prison Identification # ol |O GG |

Prison Address G, Robert Coton Correchenal fcility~ 3500 Noch Ele Road
Jackson _, Michtaan ? YqA0|

City ) StateJ Zip Code

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Additional Information:

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Scott Sedore

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.20 Filed 10/26/21 Page 20 of 51

‘ Defendants in Lawsult”

I} Sienna Land fair Cn)

2) Gran Stricklin (Rn

3 | Alinda Florek (Rw)

4) Victorla Hallett CDs)

S) Michigan Depattwent of Correchon's (" MiD,0.0.")
&) Copizen Health Inc...
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@) Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.30 Filed 10/26/21 Page 30 of 51
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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.32 Filed 10/26/21 Page 32 of 51

“Relief Souaht" .

where PlaiahF respectfully prays thet this Court’

Declare thy Act's and omlision’s describecd herein violated Plaintiffs
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Signed Name Scott Socky # 210ll|

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MICHIGAN OY: PARTMENT OF JF CORRECTIONS Bureau of Health Care TIS CHI-549 11/05

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You will not be denied health careServices for lack’of personal funds. However, if’your account does not have adequate s, the
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any necessary medical information to facilitate that treatment, to review treatment, to respond to a related grievance, or to review any

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Signature: Title: a4 i Provider #: pate:

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Note: If none of the exceptions listed below apply, check’ the box below and a copay will be charged. {0 Jt ‘sy spp 20 7)

Care that is: * requested by a QHP (includes transfer assessments, chronic care clinics, intake and annual screening, af 2 Mo
and required follow-up care) / Afam

* for injuries that are work-related as documented by the prisoner's work supervisor Lf Lf
+ Y fealty, (3le
requested for testing for HIV, STD's, infestations, or reportable communicable diseases /
* requested for evaluation, consultation, or treatment of a mental health need Sy Vg start, Cj
* prompted by a medical emergency (see Section I of the policy, if self-inflicted) / /
[ ] I have reviewed the visit of 5 and certify none of these exceptions apply. “the fli fe /
ate
Signature: Title: Provider #: Date:

Canary - Prisoner, Pink Busitygs Office

EXHL6IT” #4

Distribution. | White - Health Services, --

23-GAD-KGA ECF No. 1, PagelD.35 Filed 10/26/21 Page 35 of 51

Department of Corrections

Lab Report
Offender Name: SEDORE, SCOTT LEE Off #: 0210661
Date of Birth: 07/19/1967, Sex: M
Report Date: 05/19/2021 ' Provider: YARID, RAVI
Test Name Lab Collection Date Results Date
Result Reference Range
COMMENTS:
CRP (NON CARDIAC) {CRPNC} 05/18/2021 16:00 05/19/2021 08:39
CRP (NON CARDIAC) 0.5 (N) 0-1.0 mg/dL
CBC {CBC2} 05/18/2021 16:00 05/1 9/2021 08:39
CC puateter coun > Cis0-400 THCUNNES
WHITE BLOOD COUNT 4.17 (N) 4.0-10.0 TH/CU MM
ABSOLUTE 2.50 (N) 1.56-8.10 x10-3/uL
NEUTROPHIL CT
NEUTROPHILS 60.1 (N) 39-81 %
LYMPHOCYTE 24.2 (N) 14-51 %
MONOCYTES 12.2 (N) 0-13.3 %
EOSINOPHIL 2.6 (N) 0-8 %
BASOPHILS 0.7 (N) 0-2 %
RED BLOOD CELLS 4.48 (N) 4.41-5.51 M/CU MM
HEMOGLOBIN 13.8 (N) 13.5-17.5 G/DL
HEMATOCRIT 41.8 (N) 41-53 %
MCV 93.3 (N) 80-100 FL
MCH 30.8 (N) 27-33 PG
MCHC 33.0 (N) 31-37 G/DL
RDW 12.1 (N) 11.0-14.5 %
MPV 12.9 (H) 7.4-12.0 FL
CMP {CMP} 705/18/2021°16:00' 05/19/2021 08:39
ALBUMIN 4.6 (N) 3.5-5.5 G/DL
ALK PHOS 49 (L) 53-128 U/L
TOTAL BILIRUBIN 0.6 (N) 0.2-1.2 MG/DL
BUN 8 (N) 7-18 MG/DL
CALCIUM 9.4 (N) 8.4-10.7 MG/DL
CHLORIDE 108 (H) 98-107 MEQ/L
CREATININE, SERUM 0.84 (N) 0.7-1.3 MG/DL
GFR (NON-AFR AMER) 102 (N) 60-300 mL/MIN
GFR (AFR AMER) 123 (N) 60-300 mL/MIN
GLUCOSE 78 (N) 70-105 MG/DL
Generated 05/19/2021 10:29 by SYSTEM [SYS] MDOC - ATG Page 1 of 2
Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.36 Filed 10/26/21 Page 36 of 51

Offender Name: SEDORE, SCOTT LEE

Off#: 0210661

Date of Birth: 07/19/1967 Sex: M
Report Date: 05/19/2021 Provider: YARID, RAVI
REFERENCE RANGES
FASTING DRAW: 70-105 mg/dl
RANDOM DRAW: DEPENDENT UPON TIME AND CONTENT OF LAST MEAL
POTASSIUM 4.1 (N) 3.5-5.1 MEQ/L
TOTAL PROTEIN 6.8 (N) 6.0-8.3 G/DL
SODIUM 146 (H) 136-145 MEQ/L
CARBON DIOXIDE 31 (N) 22-33 MEQ/L
SGOT/AST 28 (N) 15-40 U/L
SGPT/ALT 30 (N) 7-45 VIL
THYROID PANEL {COR7} 05/18/2021 16:00 05/19/2021 08:39
TSH-HIGH SENSITIVITY 2.109 (N) 0.465-4.68 uU/mL
FT4 0.62 (L) 0.78-2.19 ng/dL
T3 TOTAL 1.184 (N) 0.970-1.69 NG/ML
MAGNESIUM {MGNEW} 05/18/2021 16:00 05/19/2021 08:39
MAGNESIUM 1.9 (N) 1.6-2.55 MG/DL
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“87. Filed.10/26/21 Page 37 of 51

4835-4247 10/94
CSJ-247A

TiC FA Oj] NOAG) 29/2)

MICHIGAN DEPARTMENT OF CORRECTIONS
PRISON ER/PAROLEE GRIEVANCE FORM

Date Received at Step I Grievance Identifier:

Name (print first, last)

Scott Sedon é

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What attempt did you make to resolve Me issue prior to writin his rege On what date? om G / { of I spoke

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State problem clearly. Use sépdrate grievance form fof each issue. Additional pages, using plain paper, may

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«RESPONSE (Grievant Interviewed? L} yes [LI No

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file

If No, give explanation. If resolved, explain resolution.

Respondent’s Signature Date Reviewer’s Signature Date
Respondent’s Name (Print) Working Title Reviewer’s Name (Print) Working Title
one Returned to If resolved at Step I, Grievant sign here.
nevant: 1 ]
Resolution must be described above. Grievant's Signature Date

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Case 2:21-Cv-12623-GAD-KGA ECF No. 1, PagelD.38 Filed 10/26/21 Page 38 of 51
| Step # | aflevaace - Extra Page |

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.39 Filed 10/26/21 Page 39 of 51

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rtment of Corrections _

Mich igan Department of Corr 5
FIR GRIEVANCE RECEIPT *

FIRST:

TO: SEDORE 210661

FROM: Grievance Coordinator: Cobb

SUBJECT: Receipt for Step I Grievance

Grievance Identifier: JCF / 2021 / 06/ 1026 / 281
Issue: ‘ to attempt/resol W/ STAFF INVOLVED #
Received: 6/21/2021

Date Due: 7/12/2021

DATE:

LOCATION:

6/21/2021

JCF B-1

Your Step I grievance was received as indicated above. You should receive a response no later than the due date listed
above. If you have not received a response by this date and no extension has been given, you may submit a written
request for an appeal form to this office. You will need to note, on your request, the grievance identifier as listed above.

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Michigan Department of Corrections
GRIEVANCE REJECTION LETTER

DATE: 6/21/2021

TO: SEDORE 210661 LOCATION: JCF B-1
FROM: Grievance Coordinator: Cobb

SUB.JECT: Receipt/Rejection/Denial for Step 1 Grievance

Your Step I grievance regarding Failed to attempt/resolve issue W/ STAFF INVOLVED

was received in this office on 6/21/2021 and was rejected due to the following reason:

The grievant did not attempt to resolve the issue with the staff member involved prior to filing the
grievance unless prevented by circumstances beyond his/her control of if the issue falls within the
jurisdiction of the Internal Affairs Division in Operations Support Administration.

.

Any future references to this grievance should utilize this identifier:

JCF / 2021 / 06/ 1026 / 281

‘%
Sy

Respondent Date Reviewer Date

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G. Robert Cotton Correctional Facility
Step II Grievance Response
Grievant: Sedore # 210661

Grievance #: JCF-2021-06-1026-281

I have reviewed the Step I grievance, Step I response along with the associated Step
II reason for appeal. The Step I grievance was rejected for the complaint being filed on
a non-grievable issue. At Step II you dispute the rejection.

Grievance Rejected

PD 03.02.130 “Prisoner/Parolee Grievances” defines what is grievable and non-grievable.
The grievant failed to attempt to resolve the issue with staff member. The grievance shall
not be rejected if there is a valid reason for the delay; e.g. transfer.

The step I rejection has been reviewed by the Warden’s office in accordance with P.D.
03.02.130 “Prisoner/Parolee Grievances” and the REJECTION IS UPHELD AT STEP
II :

Noah Nagy, Warden GRP 4 Oo [¢/- aor
L Date

Respondent’s Name/Position Respondent’s Signature

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MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09

PRISONER/PAROLEE GRIEVANCE APPEAL FORM CS}247B
Date Received by Grievance Coordinator ° Grievance Identifier: cre lO G| | [ jO AG iA 30
at Step II:

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE.
The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the goldenrod copy if you have not been provided

with a Step I response in a timely manner) MUST be attached to the white copy of this form if you appeal it at both Step
Il and Step III.

If you should decide to appeal m oe I grievance response to Step II, your appeal should be directed to:
—S- . If it is not submitted by this date, it will be considered terminated.

If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director’ Ss
Office, P.O. Box 30003, Lansing, Michigan, 48909.

Name (Print first, last) Number Institution Lock Number fic [aoa Today's Date

Scott Sedore A066 | JCF B-) Gngoia ai! 6 [aspeal

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STEP II — Response

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Step II Respondent:

Date Returned to
Grievant:

Respondent’s Name (Print) Respondent’ S Signature Date

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STEP III — Director’s Response is attached as a separate sheet. feasTra pe! f, because tHe p Ln feefeel conlueh

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Case 2:21-cv-12623-GAD-KGA E

10/26/21 Page 43 of 51

MICHIGAN DEPARTMENT OF CORRECTIONS CAR-100

DISBURSEMENT AUTHORIZATION/CATALOG ORDER FORM Tee log

Prisoners write clearly-illegible/incomplete forms will not be processed. (Date: Z q /24

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Reason/ Description: (If to relative, identify relationship) Step 43 afitvance Afpes!
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COMPLETE THIS PORTION FOR CATALOG ORDERS ONLY

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Distribution: White-Business Office; Canary-Vendor; Pink-Property; Goldenrod-Prisoner
Case 2:21-cv-12623-GAD-KG

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0210661 - SEDORE, SCOTT - 52050456 - JCF

Read this medicine information sheet carefully each time you get this medicine filled. You must ca refully read
the "Consumer Information Use and Disclaimer" below in order to understand and correctly use this information.
This information is for MALE patients only. It does NOT include important information for FEMALE patients.

Pregabalin Capsules
Pronunciation (pre GAB-s

Brand Names:
eee emer R AEE RIS TIEN
What is this dru

; aise eee
LOR ONO EEE aoe an

ys Oe ean S PRA ps
* Itis. used to help control certain kinds of seizures.

* Itis used to treat painful nerve diseases.
* Itis used to treat fibromyaigia.

* Itmay be given to you for other reasons. Talk with the
doctor.

oe If you are allergic to this drug; any part of this drug; or
any other drugs, foods, or substances. Tell your doctor
about the allergy and what signs you had.

* If you have kidney disease.

This is not a list of all drugs or health problems that
interact with this drug.

Tell your doctor and pharmacist about all of your drugs
(prescription or OTC, natural products, vitamins) and
health problems. You must check to make sure that it is
safe for you to take this drug with all of your drugs and
health problems. Do not start, stop, or change the dose of
any drug without checking with your doctor.

os Tell all of your health care providers that you take this .
drug. This includes your doctors, nurses, pharmacists,
and dentists.

* Avoid driving and doing other tasks or actions that call
for you to be alert or have clear eyesight until you see
how this drug affects you.

* Do not stop taking this drug all of a sudden without
calling your doctor. You may have a greater risk of side
effects. If you need to stop this drug, you will want to
slowly stop it as ordered by your doctor.

* Avoid drinking alcohol while taking this drug.

* Talk with your doctor before you use marijuana, other
forms of cannabis, or prescription or OTC drugs that
may slow your actions.

* Avery bad reaction called angioedema has happened
with this drug. Sometimes, this may be life-threatening.
Signs may include swelling of the hands, face, lips,
eyes, tongue, or throat; trouble breathing; trouble
swallowing; or unusual hoarseness. Get medical help
right away if you have any of these signs.

* Severe breathing problems have happened with this
drug in people taking certain other drugs (like opioid

pain drugs). This has also happened in people who
already have lung or breathing problems. The risk
may also be greater in people who are older than 65.
Sometimes, breathing problems have been deadly. If
you have questions, talk with the doctor,

* If you are 65 or older, use this drug with care. You
could have more side effects.

* Talk with your doctor if you plan to father a child. This
drug made male animals less fertile and caused sperm
changes. Birth defects also happened in the young of
male animals treated with this drug. It is not known if
these problems happen in humans.

doctoraboutrightaway?. <7. ae
WARNING/CAUTION: Even though it may be rare, some
people may have very bad and sometimes deadly side
effects when taking a drug. Tell your doctor or get medical
help right away if you have any of the following signs or
symptoms that may be related to a very bad side effect:

* Signs of an allergic reaction, like rash; hives: itching;
red, swollen, blistered, or peeling skin with or without
fever; wheezing; tightness in the chest or throat;
trouble breathing, swallowing, or talking: unusual
hoarseness; or swelling of the mouth, face, lips,
tongue, or throat.

* Change in eyesight.

* Muscle pain or weakness.

* If seizures are new or worse after Starting this drug.
* Change in balance.

* Feeling confused.

* Shakiness.

* Trouble breathing, slow breathing, or shallow
breathing.

* Change in color of skin to a bluish color like on the lips,
nail beds, fingers, or toes.

* Memory problems or loss.

* Shortness of breath, a big weight gain, or swelling in
the arms or legs.

* Fast or abnormal heartbeat.
* Fever, chills, or sore throat.
* Skin sores.

* Trouble speaking.

+ Trouble sleeping.

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0210661 - SEDORE, SCOTT - 52050456 - JCF

* Trouble walking.
* Feeling high (easy laughing and feeling good).
* Twitching.

* Get medical help right away if you feel very sleepy,
very dizzy, or if you pass out. Caregivers or others
need to get medical help right away if the patient does
not respond, does not answer or react like normal, or
will not wake up.

* Patients who take this drug may be at a greater risk
of having thoughts or actions of suicide. The risk may

be greater in people who have had these thoughts

or actions in the past. Call the doctor right away

if signs like low mood (depression), nervousness,

restlessness, grouchiness, panic attacks, or changes

in mood or actions are new or worse. Call the doctor

right away if any thoug hts or actions of suicide occur.

‘Low. platelet counts" have ‘Tarel ‘happened with —
“this drug. This may lead to a higher chance of

bleeding. Call your doctor: right av ht away if you have any’
unexplained’ bruising oftbleeding:

All drugs may cause side effects. However, many people
have no side effects or only have minor side effects. Call
your doctor or get medical help if any of these side effects
or any other side effects bother you or do not go away:

* Feeling dizzy, sleepy, tired, or weak.

« Weight gain.

« Not able to focus.

* Headache.

* Dry mouth.

* Constipation.

* More hungry.

* Upset stomach.

¢ Joint pain.

* Nose or throat irritation,

These are not all of the side effects that may occur. If you
have questions about side effects, call your doctor. Call
your doctor for medical advice about side effects.

You may report side effects to the FDA at 1-800-332-1088.

You may also report side effects at https:/Awww.fda. gov/
medwatch

Use this drug : as ‘ordered by your doctor. Read all
information given to you. Follow all instructions closely.
¢ Take with or without food.

* Keep taking this drug as you have been told by your
doctor or other health care provider, even if you feel
well.

* Take a missed dose as soon as you thimk about it.

* {fit is close to the time for your next dose, skip the
missed dose and go back to your normal time.

* Do not take 2 doses at the same time or extra doses.

* Store in the original container at room temperature.
* Store in a dry place. Do not store ina bathroom.

* Store this drug in a safe place where children cannot
see or reach it, and where other people cannot get to
it. A locked box or area may help keep this drug safe.
Keep all drugs away from pets.

* Throw away unused or expired drugs. Do not flush
down a toilet or pour down a drain unless you are
told to do so. Check with your pharmacist if you have
questions about the best way to throw out drugs.
There may be drug take-back programs in your area.

ED aI

os ify your ‘symptoms or health problems do not get better

or if they become worse, call your doctor,

* Do not share your drugs with others and do not take
anyone else's drugs.

* This drug comes with an extra patient fact sheet
called a Medication Guide. Read it with care. Read it
again each time this drug is refilled. If you have any
questions about this drug, please talk with the doctor,
pharmacist, or other health care provider.

* Ifyou think there has been an overdose, call your
poison control center or get medical care right away.
Be ready to tell or show what was taken, how much,
and when it happened.

} iormation Usejand Disclaimer.
This information should not be used to decide whether
or not to take this medicine or any other medicine. Only
the healthcare provider has the knowledge and training
to decide which medicines are right for a specific patient.
This information does not endorse any medicine as
safe, effective, or approved for treating any patient or
health condition. This is only a brief summary of general
information about this medicine. It does NOT include all
information about the possible uses, directions, warnings,
precautions, interactions, adverse effects, or risks that
may apply to this medicine. This information is not specific
medical advice and does not replace information you
receive from the healthcare provider. You must talk with
the healthcare provider for complete information about the
risks and benefits of using this medicine.

issue Date: 02/03/2021
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Michigan Department of Corrections
Kite Response

Offender #: 0210661 Offender Name: SEDORE, SCOTT LEE

Location: JCF -G. ROBERT COTTON CORRECTIONAL Lock: B:01:Bot:L
Discipline: Medical
Received Date: 06/16/2021
Initiated Date: 06/16/2021
Taken By: Florek, Alinda [AF10] RN
Request Type: Medical Question

Request Summary: Please see kite dated 6/14/21 regarding platelet count and cutting self.

Pian/Action: Pt placed in segregation unit with a psych referral completed for self-injurious be havior.

Comments:

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to Assist ww vith Mebores of Daly Huey
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jenerated 06/16/2021 14:56 by Florek, Alinda [AF 101 RN MDOG-JCF: Dann 4 nt 4

MR esh- Cabe 31 12623-GAD-KGA ECF No. 1, PagelD.47 Filed 10/26/21 Page 47 of 54---
Exhi bf Michigan Department of Corrections

ROBERTASR Referral

Offender Name: SEDORE, SCOTT LEE Off #: 0210661
Date of Birth: 07/19/1967 Sex: M Facility: JCF
Date: 06/16/2021 14:24 Provider: Jones, Alison W. [AJ7]

Level of Care: OPT-V

Barriers to Communication

Please document what means of communication were utilized during encounter :
(CHECK ALL THAT APPLY):
__X___No barrier to communication present.
1. ASL with video relay interpreter (VRI) - DHH
2. ASL with in-person interpreter - DHH
3. Lip reading - DHH
4. Speaking Loudly - OHH
5. Hearing aids worn - DHH
6. Written Slate DHH
7. Communication Boards DHH/Other
8. Clear mask worn by QHP - DHH
9. Additional staff brought in to assist with communication DHH/VI/Other
10. QHP read handouts or brochures V1/Other
11. Other (face-to-face or maintained eye contact) DHH/Other
Prisoner Acknowledgement of communication being effective:
(CHECK ALL THAT APPLY):
__X___1.Verbally acknowledges communication was effective
2. Responded and/or asked appropriate questions
3. Repeated or rephrased information give
4. Unable to achieve effective communication need to reschedule

DHH = Deaf and/or Hard of Hearing

VI = Visually Impaired

Other = Cognitive/Mental Impaired
ROBERTA-R

R easoning

O rientation

B ehavior

E motion

R ecall/Memory

T alk

A ppearance

R elationships
Reason for Referral

Mr. Sedore was seen on this date pursuant to this clinician receiving communication from the psyc secretary indicating
that one of my clients had been taken from health care to the cage in L unit and would be needing to see mental health.
When this clinician contacted L unit they confirmed that he was in the cage awaiting speaking with mental health, but
were unsure of the circumstances. Due to wanting to clarify the specific concern this clinician contacted nursing and
spoke with the HUM who indicated that he had put in a kite stating that he had cut himself on his heel and had bled
profusely. She indicated that the cut occurred approximately a week ago. She notes that his kite was written on 6-14-
2021. A Roberta R had been written by nursing staff and this clinician was given a copy of that document. It appeared
that they were trying to insure that this was not an episode of deliberate self harm and his mental status was normal.
Desired Action

During our interview Mr. Sedore indicated that he was doing just fine and explained the circumstances surrounding his
having been placed in the cage. He explained that he had seen his medical provider yesterday and had been told that
his platelets were quite low and that it was unclear about why this was. He had advised that he had been taking Lyrica
but had stopped his meds upon feeling that they were not helpful to him. He also states that he read up on Lyrica from

3enerated 06/17/2021 14:01 by Jones, Alison W. [AJ7] MDOC - JCF Page 1 of 3

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._Case 2:21.cv-12623-GAD-KGA_ ECF No. 1. PagelD.48 Filed 10/26/21 Page 48 of 51

Offender Name: SEDORE, SCOTT LEE Off #: 0210661
Date of Birth: 07/19/1967 Sex: M Facility: JCF
Date: 06/16/2021 14:24 Provider: Jones, Alison W. [AJ7]

Level of Care: OPT-V

the drug insert document and found out that Lyrica could cause low platelets, which in turn could interfere with his blood
clotting properly. He indicates that about a week ago, the back of his heel was cut on his wheel chair due to friction from
his skin rubbing against his shoe due to him not wearing socks at the time. He notes that he bled for several hours from
this cut. He reports his sense that the reason he bled so much was due to his low platelets which interfere with proper
Clotting. He reports that following his conversation with his MP and reading the information about Lyrica he wrote a kite
to his MP stating that he had last week cut his heel and bled, and this coupled with the Lyrica was most likely the cause
of his platelets being so low. He notes that he attached the Lyrica insert to his kite intending for this information to be
given to his MP as an explanation for why his platelets could have been low. He reports that he has never intentionally
tried to harm himself and he was instead wanting to do things to help himself so that he could live a better and improved
quality of life. He showed this clinician the scab that had formed towards the back of his heel from uninte ntionally
cutting himself on his wheelchair. He was adamant in denying any attempt at self injurious behavior, suicidal ideation or
intent and instead affirmed that he wanted to get better and stronger so that he could pursue standing up for himself and
fighting the injustices that he felt were occurring in this setting. He indicates his sense that he has been retaliated
against, repeatedly, for filing complaints and lawsuits and feels that being put in the cage is yet another example of the
same. He expressed being very upset about not being able to go to his law library callout in light of them setting limits
on his time there due to the instability in the institution coupled with limitations posed due to the Covid pandemic. He
Stated that if he was unable to get there today he would have to wait yet another week to follow up on his legal
work/matters. He indicated further that since he has renewed his efforts to challenge injustices he has been eating
more and better, and trying to get stronger.

Client was pleasant and cooperative during our encounter. He was upset about having been placed in the cage, in light
of having a law library callout at this time and feeling that this episode could have been managed differently. He was

light of the injuries sustained over the years, and he has worked hard to try to receive treatment, including medication
that helps him with his pain. He was advised that this clinician would call him out again tomorrow to continue talking
about his situation and to problem solve regarding finding ways to help him to manage his dilemmas. This clinician
documented in the log book and advised staff that he was being released back into population at this time.

Current Mental Status

Level of Consciousness: Alert and Oriented
Psychomotor Activity: Normal
General Appearance: Normal
Behavior: Cooperative

Mood: Appropriate to Content
Thought Process: Appropriate

Thought Content: Normal

Co-Pay Required: No Cosign Required: No
Telephone/Verbal Order: No
Standing Order: No

vompleted by Jones, Alison W. [AJ7] on 06/17/2021 14:01

3enerated 06/17/2021 14:01 by Jones, Alison W. {AJ7] MDOC - JCF Page 2 of 3

Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.49 Filed 10/26/21 Page 49 of 51
be __h
Offender Name: SEDORE, SCOTT LEE

Off #: 0210661
Date of Birth: 07/19/1967 Sex: M Facility: JCF
Date: 06/16/2021 14:24 Provider: Jones, Alison W. [AJ7]
Level of Care: OPT-V

ienerated 06/17/2021 14:01 by Jones, Alison W. (AJ7] MDOC - JCF

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Case 2:21-cv-12623-GAD-KGA ECF No. 1, PagelD.50 Filed 10/26/21 FOPSG Roz) ogy si/
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